           Case 1:21-cr-00399-RDM Document 298 Filed 06/10/24 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

               Plaintiff,

    v.                                                  No. 21-cr-399 (RDM)

 ROMAN STERLINGOV,

               Defendant.

                    MOTION FOR COUNSEL TO APPEAR PRO HAC VICE

          I, Walter H Hawes IV, a member in good standing of the bar of the District of Columbia

and the bar of this Court, hereby move pursuant to LCrR 44.1(c), for Maksim Nemtsev, an attorney

from the Commonwealth of Massachusetts, to be admitted pro hac vice to appear and practice in

this Court for the purpose of representing Defendant Roman Sterlingov in the above-captioned

matter.

          Mr. Nemtsev’s declaration and a certificate of good standing at the Bar of the

Commonwealth of Massachusetts are attached hereto.



 Dated:      June 10, 2024                            Respectfully submitted,
             Washington, D.C.


                                                      /s/ Walter H Hawes IV
                                                      D.C. Bar #90004781
                                                      MOLOLAMKEN LLP
                                                      600 New Hampshire Ave., N.W., Ste. 500
                                                      Washington, D.C. 20037
                                                      Telephone: (202) 556-2013
                                                      Facsimile: (202) 556-2001
                                                      whawes@mololamken.com
         Case 1:21-cr-00399-RDM Document 298 Filed 06/10/24 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I, Walter H Hawes IV, hereby certify that on this date, June 10, 2024, I caused the foregoing
Motion for Counsel to Appear Pro Hac Vice and the Supporting Declaration of Maksim Nemtsev
to be served on all participants in the case via the CM/ECF system.


                                                       /s/ Walter H Hawes IV
                                                       D.C. Bar #90004781
                                                       MOLOLAMKEN LLP
                                                       600 New Hampshire Ave., N.W., Ste. 500
                                                       Washington, D.C. 20037
                                                       Telephone: (202) 556-2013
                                                       Facsimile: (202) 556-2001
                                                       whawes@mololamken.com
